Case 1:05-cr-10003-.]DT Document 10 Filed 04/20/05 Page 1 of 6 Page|D 8
UN|TED STATES D|STR|CT COURT

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wiNDY cLlMER ' /‘/--JAQKS;C/`
A. Russell Larson, CJA ` U/V

Defense Attorney
211 East Main Street
Jackson, TN 38301

 

JUDGMENT lN A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on January 19, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Tiue & section mmi.€>_ffens gmcl_ud_ed Nu_mbgt§i
18 U.S.C. § 4 Nlisprision of a Felony 06/1 012003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of namel residence, or mailing address until all
fines, restitutionl costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/28/1978 April 19, 2005
Deft's U.S. Marsha| No.: 19345-076

Defendant’s Mai|ing Address:
50 Cochran Street
Savannah, TN 38372

 

 

This document entered on the docket in compliance
with Ruie 55 and!or 32(b) FRCrP on ‘

Case 1:05-cr-10003-.]DT Document 10 Filed 04/20/05 Page 2 of 6 Page|D 9

Case No: 1:050r10003-01-T Defendant Name: Windy Climer Page 2 of 5-
lMPRiSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 5 Months as to the One (1) Count |nformation. The
defendant is to be given credit for time served in state custody. in addition, the defendant
is ordered to serve 5 months home detention.

The Court recommends to the Bureau of Prisons: Defendant to be given credit for
time served in state custody.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES NlARSHAL
By:

 

Deputy U.S. |Viarshai

Case 1:05-cr-10003-.]DT Document 10 Filed 04/20/05 Page 3 of 6 Page|D 10

Case No: 1'.050r10003-01-T Defendant Name: Windy Ciimer Page 3 of 5-

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 1 year as to the One (1) Count lnforrnation.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

Case 1:05-cr-10003-.]DT Document 10 Filed 04/20/05 Page 4 of 6 Page|D 11

Case No: 1:05cr10003-01-T Defendant Name: Windy Ciimer Page 4 of 5-

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 5 months
Days. During this time, defendant will remain at defendant’s place of residence except for
employment and other activities approved in advance by the defendant’s Probation Ofncer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District ofTennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s Siiding Scale for E|ectronic Monitoring Services.

2. The defendantshaii participate in a program of testing and/or treatmentfor substance abuse
as directed by the Probation Office.

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

Case 1:05-cr-10003-.]DT Document 10 Filed 04/20/05 Page 5 of 6 Page|D 12

Case No: 1:05cr10003-01-T Defendant Name: Windy C|imer Page 5 of 5-

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution
$1 00.00

 

 

The Speciai Assessment shall be due immediateiy.
FlNE
No fine imposed.

RESTITUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10003 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

.1 erry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 1 63

.1 ackson7 TN 3 8302--216

Honorable .1 ames Todd
US DISTRICT COURT

